Case 6:07-cv-00204-LED Document 291-7 Filed 03/15/10 Page 1 of 4 PageID #: 16550




                            Exhibit F
Case 6:07-cv-00204-LED Document 291-7 Filed 03/15/10 Page 2 of 4 PageID #: 16551

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  VIA E-MAIL AND U.S. MAIL                                                           CLIENT/MATTER NUMBER
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  Mr. Calvin Capshaw
  Capshaw DeRieux LLP
  1127 Judson Road, Suite 220
  Longview, TX 75601

                   Re:      Marvell Semiconductor, Inc., et al. v. Commonwealth Scientifc
                            and Industrial Research Organisation, Civil Action No. 6-07-
                            CV-204 LED (E.D. Tex.)

   Dear Mr. Capshaw:

          Please be advised that this firm represents Sony Electronics Inc. ("Sony"). We are in receipt
  of a deposition subpoena directed to Sony (the "Subpoena"), issued on behalf of Commonwealth
  Scientific and Industrial Research Organization ("Commonwealth") in the litigation referenced
  above. The Subpoena, is dated November 20, 2009, and purports to have been served on November
  23,2009. The Subpoena recites a deposition date of November 30, 2009.

         Pursuant to Federal Rule of Civil Procedure 45(c), Sony objects to the Subpoena on the
  following grounds:

              I.   Sony objects to the Subpoena as procedurally defective because it requires Sony to
                   attend a deposition more than 100 miles from its place of business in violation of
                   Federal Rule of Civil Procedure 45(c)(3)(A)(ii). Roller Bearing Co. ofAmerica, Inc.
                   v. Am. Software, Inc., 570 F.Supp.2d 376, 389 (D.Conn. 2008) ("A court cannot
                   require a person who is not a party or an officer of a party to travel to a place more
                   than 100 miles from the place where that person resides, is employed or regularly
                   transacts business to appear before it. ").

              2.   Sony objects to the Subpoena as procedurally defective because it is issued from the
                   incorrect court. Sony is located in the Southern District of California. The Subpoena
                   was issued from the Eastern District of Texas which lacks jurisdiction to compel
                   Sony's compliance with the Subpoena and thus, the Subpoena is void on its face.
                   Gipson v. Wells Fargo Bank, NA., 239 F.RD. 280, 281 (D.D.C. 2006) (court lacked
                   jurisdiction to issue subpoena fOT non-party deponent not located within 100 miles of
                   court); Smith v. BIC Corp., 121 F.R.D. 235, 245 (E.D. Pa. 1988) (subpoena served on
                   non-party witness who lived more than 100 miles from where deposition was to be
                   conducted was a legal nullity).

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Case 6:07-cv-00204-LED Document 291-7 Filed 03/15/10 Page 3 of 4 PageID #: 16552


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  Mr. Calvin Capshaw
  November 30, 2009
  Page 2


         3.      Sony objects to the Subpoena to the extent that it seeks information protected by the
                 attorney-client privilege, the work-product privilege or any other applicable privilege.

         4.      Sony objects to the Subpoena as overly broad and impermissibly vague. See Mattei
                 Inc. v. Walking Mountain Productions, 353 F.3d 792, 813 (9th Cir. 2003) (quashing
                 subpoena where "no attempt had been made to try to tailor the information request to
                 the immediate needs of the case.").

          5.     Sony objects to the Subpoena as unduly burdensome and on the grounds that
                 compliance with its terms will cause Sony undue expense. Fed. R. Civ. Proc.
                 45( c)(l) ("A party or attorney ... must take reasonable steps to avoid imposing undue
                 burden or expense on a person subject to the subpoena."). Compliance with the
                 subpoena would require a significant expenditure of Sony's funds and time to review
                 the voluminous amount of information included on the CD provided to Sony and to
                 confirm the information set forth in Attachment A. The cost and time associated with
                 such a review would unduly burden Sony.

         6.      Sony objects to the Subpoena to the extent that it calls for the review of "all" the
                 documents included on the CD provided to Sony as overly broad, burdensome,
                 oppressive and harassing. Sony is not a party to the above entitled litigation. Much
                 of the information requested from Sony can be obtained more readily from an
                 alternative source (i.e. the documents are publicly available and verifiable).

         7.      Sony objects to the Subpoena to the extent that it purports to call for the review of
                 documents not within Sony's possession, custody, or control. See Ariel v. Jones, 693
                 F.2d 1058, (11th Cir. 1982) (holding that party had no obligation to produce
                 documents stored in one state based upon the service of one of its agents in another
                 state.).

          8.     Sony objects to the Subpoena on the grounds that it provides an unreasonably short
                 time to respond, in that the Subpoena purports to direct a deposition on November 30,
                 2009, only a week after the service of the subpoena. Fed. R. Civ. Proc. 45(c)(3)(A)(i)
                 (subpoena must be quashed if it "fails to allow a reasonable time to comply."). The
                 Subpoena's deposition topics are very broad and would require Sony to review the
                 voluminous amount of information transmitted to Sony. This process would take
                 longer than the seven days provided for in the Subpoena.

          9.     Sony objects to each and every deposition topic to the extent that it calls for and seeks
                 a conclusion oflaw.

          10.    Sony objects to the Subpoena to the extent that it seeks deposition testimony
                 concerning documents which are already in the possession of Commonwealth and
Case 6:07-cv-00204-LED Document 291-7 Filed 03/15/10 Page 4 of 4 PageID #: 16553


  : FOLEY
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  Mr. Calvin Capshaw
  November 30, 2009
  Page 3


                 which Commonwealth could therefore, determine the requested information from, at
                 equal or less burden than to Sony.

          11.    Sony objects to the Subpoena to the extent that it purports to impose obligations on
                 Sony beyond those set forth in, or that exceed the scope of discovery permitted under,
                 the Federal Rules of Civil Procedure or any other rules applicable to this action.

          12.    Sony objects to the Subpoena to the extent that it seeks deposition testimony
                 concerning topics that do not concern the subject matter of action, and to the extent
                 that it calls for deposition testimony which is irrelevant, immaterial, not reasonably
                 calculated to lead to the discovery of admissible evidence or not germane to any
                 claim or defense in this action.

          13.    Sony objects to the Subpoena to the extent it seeks information which is "a trade
                 secret or other confidential research, development, or commercial information." Fed
                 R. Civ. Proc. 45(c)(3)(B)(i).

          14.    Sony objects to the Subpoena to the extent it seeks information protected by Sony and
                 other's right of privacy.

          15.    Sony objections and responses are made without in any waiving: (i) the right to object
                 on the grounds of competency, relevance, materiality, hearsay or any other proper
                 ground in any subsequent stage or proceeding in this or any other action; (ii) the right
                 to object on any and all grounds, at any time, to any discovery procedure relating to
                 the subject matter of this action, or (iii) the right to assert the protections afforded by
                 the attorney-client privilege, the work-product doctrine, or any other right or
                 privilege.

          In light of the foregoing objections, Sony will not attend the deposition scheduled for
  November 30, 2009. Nonetheless, Sony would be willing to discuss a less burdensome response to
  the topics set forth in your Subpoena. If you have any questions please feel free to contact me
  directly.



                                                    Best regards,

                                                        ~ff(
                                                    Aaron M. Muranaka




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